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      Exhibit J
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From:                    Sharon L. McCarthy
To:                      Tekeei, Negar (USANYS)
Cc:                      Enzer, Samson (USANYS); Gennaro Cariglio Jr
Subject:                 RE: Centra Tech
Date:                    Tuesday, September 4, 2018 2:12:19 PM
Attachments:             image001.jpg



Dear Sam and Negar,
As you know, I am being substituted as counsel for Sam Sharma by Gennaro Cariglio Jr. Mr.
Cariglio is copied on this e-mail. Please send the Centra Tech Selected Devices hardrive to Mr.
Cariglio at the following address:
GENNARO CARIGLIO JR. P.L.
8101 Biscayne Blvd.
Penthouse 701
Miami, FL 33138
Tel: (305) 899-0438
Fax: (305) 373-3832
Thank you.
Sharon L. McCarthy
Kostelanetz & Fink, LLP
7 World Trade Center, 34th Fl.
New York, New York 10007
212-808-8100
212-840-6866 (Direct)
212-808-8108 (Fax)
www.kflaw.com


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and notify me via reply e-mail. Thank you.

From: Tekeei, Negar (USANYS)
Sent: Monday, September 3, 2018 7:20 AM
To: Sharon L. McCarthy
Cc: Enzer, Samson (USANYS)
Subject: RE: Centra Tech
Sharon,
With apologies for interrupting the holiday, we owe a status update to the Court on discovery issues
and just want to make sure we followed up with you regarding a few items, as you are still counsel of
record for Mr. Sharma.
    1. Centra Tech Selected Devices – we emailed counsel about the hard drives being ready on
         August 20, but did not hear back from you regarding how you want to proceed. Should we
         FedEx these to you?
    2. Slack Search Warrant Returns – the thumb drive you provided now has a copy of the full Slack
         search warrant returns, per counsel’s agreements via email on August 10. Should we FedEx
         the thumb drive to you?
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   3. The below email exchange relates to whether Mr. Sharma will consent to allowing Ballard
       Spahr to produce the forensic images of the Centra Tech computers used by Messrs.
       Sharma, Farkas, Trapani, Sykes, and Shutt, and the Centra Tech emails from Messrs. Sharma,
       Trapani, Farkas, Sykes, and Shutt to a wall review team at our Office, consistent with the
       parties’ agreements with respect to the protocol for handling the Hard Copy Documents and
       the Devices referenced in the June 1, 2018 joint letter to the Court. Can you please advise as
       whether Mr. Sharma consents?
Thank you,
Negar
From: Sharon L. McCarthy <smccarthy@kflaw.com>
Sent: Monday, August 20, 2018 4:30 PM
To: Tekeei, Negar (USANYS) <NTekeei@usa.doj.gov>
Cc: Enzer, Samson (USANYS) <SEnzer@usa.doj.gov>
Subject: RE: Centra Tech
Negar,
I expect that new counsel will make an appearance tomorrow on behalf of Mr. Sharma, so I will
defer to that attorney to get back to you on this issue.
Regards,
Sharon L. McCarthy
Kostelanetz & Fink, LLP
7 World Trade Center, 34th Fl.
New York, New York 10007
212-808-8100
212-840-6866 (Direct)
212-808-8108 (Fax)
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From: Tekeei, Negar (USANYS) <Negar.Tekeei@usdoj.gov>
Sent: Friday, August 17, 2018 2:46 PM
To: Sharon L. McCarthy <smccarthy@kflaw.com>
Cc: Enzer, Samson (USANYS) <Samson.Enzer@usdoj.gov>
Subject: RE: Centra Tech
Sharon,
Following up on the below – do you have an update?
Thanks,
Negar
From: Sharon L. McCarthy <smccarthy@kflaw.com>
Sent: Wednesday, August 8, 2018 1:22 PM
To: Tekeei, Negar (USANYS) <NTekeei@usa.doj.gov>
Cc: Enzer, Samson (USANYS) <SEnzer@usa.doj.gov>
Subject: RE: Centra Tech
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I have reached out to him again to see if he consents. I will let you know his response.
From: Tekeei, Negar (USANYS) [mailto:Negar.Tekeei@usdoj.gov]
Sent: Wednesday, August 8, 2018 1:20 PM
To: Sharon L. McCarthy
Cc: Enzer, Samson (USANYS)
Subject: RE: Centra Tech
Sharon,
Just following up regarding whether your client will consent to the process outlined in our 7/20/2018
email. Please let us know.
Thanks,
Negar
From: Sharon L. McCarthy <smccarthy@kflaw.com>
Sent: Friday, July 20, 2018 10:39 AM
To: Tekeei, Negar (USANYS) <NTekeei@usa.doj.gov>
Cc: Enzer, Samson (USANYS) <SEnzer@usa.doj.gov>
Subject: RE: Centra Tech
Thanks, Negar. I will speak with Mr. Sharma about this and will let you know his position on your
request.
My apologies about the list of attorneys. I had been waiting on someone else to send that to me, but
I will do my best to get it to you by the end of the day.
Sharon L. McCarthy
Kostelanetz & Fink, LLP
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From: Tekeei, Negar (USANYS) [mailto:Negar.Tekeei@usdoj.gov]
Sent: Friday, July 20, 2018 9:55 AM
To: Sharon L. McCarthy <smccarthy@kflaw.com>
Cc: Enzer, Samson (USANYS) <Samson.Enzer@usdoj.gov>
Subject: RE: Centra Tech
Sharon,
Thanks. As we understand it (and as detailed in the parties’ June 1, 2018 joint letter to the Court),
Ballard Spahr collected forensic images of Centra Tech computers used by Messrs. Sharma, Farkas,
and others, and collected Centra Tech emails from, among others, Messrs. Sharma, Trapani and
Farkas, as part of its collection in response to SEC subpoenas. We understand that Ballard Spahr
began the process of reviewing these and other materials, but did not complete its review and
production. These materials would contain information responsive to the grand jury subpoenas
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issued to Centra Tech in connection with the criminal investigation.
Can you please advise us if Mr. Sharma will consent to allowing Ballard Spahr to produce the forensic
images of the Centra Tech computers used by Messrs. Sharma, Farkas, Trapani, Sykes, and Shutt,
and the Centra Tech emails from Messrs. Sharma, Trapani, Farkas, Sykes, and Shutt to a wall review
team at our Office, consistent with the parties’ agreements with respect to the protocol for handling
the Hard Copy Documents and the Devices referenced in the June 1, 2018 joint letter to the Court?
Also, apologies if we missed this, but I don’t believe we received from you a list of all attorneys with
whom your client may have exchanged attorney-client communications, and those attorneys’ email
addresses. Can you please send us the list today?
Thanks,
Negar
From: Sharon L. McCarthy <smccarthy@kflaw.com>
Sent: Wednesday, July 18, 2018 2:22 PM
To: Tekeei, Negar (USANYS) <NTekeei@usa.doj.gov>
Cc: Enzer, Samson (USANYS) <SEnzer@usa.doj.gov>
Subject: RE: Centra Tech
Dear Negar and Sam,
Currently, Centra Tech does not have counsel. Mr. Sharma’s ether has been restrained in the SDFL
civil case, and he has counsel in Florida trying to free it up. If the funds are unencumbered, Mr.
Sharma will be able to retain counsel for Centra Tech.
Regards,
Sharon L. McCarthy
Kostelanetz & Fink, LLP
7 World Trade Center, 34th Fl.
New York, New York 10007
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212-840-6866 (Direct)
212-808-8108 (Fax)
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From: Tekeei, Negar (USANYS) [mailto:Negar.Tekeei@usdoj.gov]
Sent: Wednesday, July 18, 2018 2:08 PM
To: Sharon L. McCarthy <smccarthy@kflaw.com>
Cc: Enzer, Samson (USANYS) <Samson.Enzer@usdoj.gov>
Subject: Centra Tech
Sharon,
Can you advise who currently represents Centra Tech in connection with the criminal investigation?
There are outstanding subpoena-related issues that we need to address, and we aren’t sure what is
the current status of the company’s representation.
Thanks,
Negar
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Negar Tekeei
Assistant United States Attorney
Southern District of New York
One St. Andrew's Plaza
New York, New York 10007
Office: (212) 637-2482
Cell: (646) 372-0369
Negar.Tekeei@usdoj.gov
